            Case: 22-55342, 02/13/2023, ID: 12651993, DktEntry: 53, Page 1 of 3
                                                McGuireWoods LLP                         Brian D. Schmalzbach
                                                800 East Canal Street                    Direct: 804.775.4746
                                                Richmond, VA 23219-3916                  bschmalzbach@mcguirewoods.com
                                                Phone: 804.775.1000
                                                Fax: 804.775.1061
                                                www.mcguirewoods.com




February 13, 2023

Molly Dwyer, Clerk of Court
Office of the Clerk
U.S. Court of Appeals for the Ninth Circuit
95 Seventh Street
San Francisco, California 94103

        Re: No. 22-55342, FTC v. Apex Capital Group, LLC

Dear Ms. Dwyer,

       Contrary to the FTC’s February 6 Rule 28(j) letter, FTC v. Simple Health Plans LLC,
2023 WL 465660 (11th Cir. Jan. 27, 2023), is irrelevant to Wells Fargo’s Article III standing to
intervene.

       Simple Health simply does not address standing. Rather, it addressed a merits question
about the scope of available relief under Section 19 of the FTCA, 15 U.S.C. § 53(b). 2023 WL
465660, at *4. The FTC’s Simple Health argument rests on a category mistake: because (FTC
says) Section 19 creates a merits basis for appointing the Receiver apart from Section 13, then
(FTC says) Wells Fargo lacks standing because its injury caused by the unlawful Section 13
appointment cannot be redressed.

        But as Wells Fargo has explained, standing is a jurisdictional question that “‘precedes,
and does not require, analysis of the merits.’” Opening Br. 24 (quoting Maya v. Centex Corp.,
657 F.3d 1060, 1068 (9th Cir. 2011)). Article III requires merely that the requested relief would
likely redress Wells Fargo’s injury. The requested modification of the appointment order would
indisputably redress that injury.

         In any event, Simple Health confirms that relief under Section 19 is not coextensive with
the campaign the district court breathed into life under Section 13. The Eleventh Circuit
confirmed that relief under Section 19 “comes with important limitations that are absent in
Section 13(b).” 2023 WL 465660, at *4. That court held, for example, that Section 19 was
limited to allowing relief “necessary to redress injury to consumers,” thus restricting “any
exemplary or punitive damages.” Id. The Eleventh Circuit and other courts thus recognize
limits on the equitable authority available under Section 19. See, e.g., FTC v. Gem
Merchandising Corp., 87 F.3d 466, 469 (11th Cir. 1996). So even if there were any lawful basis
in this case for the Receiver’s campaign against Wells Fargo, that campaign would have a
narrower scope under Section 19 than under the current pre-AMG Capital appointment order


      Atlanta | Austin | Baltimore | Charlotte | Charlottesville | Chicago | Dallas | Houston | Jacksonville | London | Los Angeles - Century City
           Los Angeles - Downtown | New York | Norfolk | Pittsburgh | Raleigh | Richmond | San Francisco | Tysons | Washington, D.C.
         Case: 22-55342, 02/13/2023, ID: 12651993, DktEntry: 53, Page 2 of 3

February 13, 2023
Page 2


based on Section 13. A modification to the appointment order based on the limits of Section 19
thus would still redress Wells Fargo’s injury at least in part.



                                            Sincerely,

                                            /s/ Brian D. Schmalzbach
                                            Brian D. Schmalzbach
                                            MCGUIREWOODS LLP
                                            800 East Canal Street
                                            Richmond, VA 23219
                                            T: (804) 775-4746
                                            bschmalzbach@mcguirewoods.com

                                            Counsel for Appellants
                                            Wells Fargo & Company and
                                            Wells Fargo Bank, N.A.

cc:    Counsel of Record by ECF
          Case: 22-55342, 02/13/2023, ID: 12651993, DktEntry: 53, Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2023, the foregoing was filed with the Clerk of the

United States Court of Appeals for the Ninth Circuit using the appellate CM/ECF system, which

will also serve counsel of record.


Dated: February 13, 2023                    /s/ Brian D. Schmalzbach
                                            Brian D. Schmalzbach
